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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


DC CENTER FOR INDEPENDENT
LIVING, et al.,

      Plaintiffs,
                                                 Civil Action No. 1:22-cv-03541-JMC
      v.

DISTRICT OF COLUMBIA, et al.,

      Defendants.


             CONSENT MOTION TO AMEND THE SCHEDULING ORDER

       Defendants District of Columbia and Mayor Muriel Bowser (collectively, the District)

move under Rule 16(b)(4) for a seven-day extension of the current deadlines for the Parties to

exchange initial expert reports (from March 28, 2025 to April 4, 2025) and rebuttal expert

reports (from May 9, 2025 to May 16, 2025). Plaintiffs consent to this request.

       The Court may amend its scheduling order based on a showing of good cause. See

Headfirst Baseball LLC v. Elwood, 206 F. Supp. 3d 148, 152 (D.D.C. 2016); Fed. R. Civ. P.

16(b)(4); LCvR 16.4(a). The Scheduling Order in this case requires the exchange of initial and

rebuttal expert reports by March 28, 2025, and May 9, 2025, respectively. See Scheduling Ord

[23]. Unfortunately, scheduling issues and challenges navigating the District’s procurement

process have delayed the completion of the District’s initial expert report by about a week.

Counsel, and the District’s expert, continue to work diligently to prepare the District’s report, but

the District requires additional time to meet its disclosure obligations. The District submits that

this constitutes good cause supporting a one-week extension of both deadlines. Plaintiffs consent

and will not be prejudiced by the extension, which also will not unduly delay resolution of this

matter. Accordingly, the District respectfully requests that the Court extend the Parties’ deadline
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to exchange expert reports from March 28, 2025 to April 4, 2025, and extend the rebuttal expert

report deadline from May 9, 2025 to May 16, 2025.

         Pursuant to Local Rule 7(a), this Motion includes all supporting points of law and

authority. A proposed order is attached.

Dated: March 25, 2025.                              Respectfully submitted,

                                                    BRIAN L. SCHWALB
                                                    Attorney General for the District of Columbia

                                                    CHAD COPELAND
                                                    Deputy Attorney General
                                                    Civil Litigation Division

                                                    /s/ Matthew R. Blecher
                                                    MATTHEW R. BLECHER [1012957]
                                                    Chief, Equity Section, Civil Litigation Division

                                                    /s/ Honey Morton
                                                    HONEY MORTON [1019878]
                                                    Assistant Chief, Equity Section

                                                    /s/ David R. Wasserstein
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DISTRICT OF COLUMBIA, et al.,

       Defendants.


                                           ORDER

         Upon consideration of Defendants’ Consent Motion to Amend the Scheduling Order and

the entire record, it is:

         ORDERED that the Motion is GRANTED; and it is further

         ORDERED that the Parties shall exchange expert reports on or before April 4, 2025; and

it is further

         ORDERED that the Parties’ shall exchange any rebuttal expert reports on or before May

16, 2025.

         SO ORDERED.

 Date:
                                                  Hon. Jia M. Cobb
                                                  United States District Judge
